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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                    )
NATIONAL SECURITY ARCHIVE,          )
                                    )
                         Plaintiff, )
                                    )
            v.                      )                Civil Action No. 19-0529 (CJN)
                                    )
DEFENSE INTELLIGENCE AGENCY,        )
                                    )
                        Defendant.  )
____________________________________)

                                   JOINT STATUS REPORT

       Pursuant to the Court’s June 30, 2021, Minute Order, Plaintiff National Security Archive

(“Plaintiff”) and Defendant Defense Intelligence Agency (“Defendant” or “DIA”), a component-

agency of U.S. Department of Defense (“DOD”), through undersigned counsel, respectfully

submit this Joint Status Report.

1.     The Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, request that is the subject of

       this case sought disclosure of files from three specifically-identified boxes of records that

       were in the possession of the National Archives and Records Administration and located

       in the Washington Records Center in Suitland, Maryland. The FOIA request and Plaintiff’s

       Complaint identified the requested files by accession number, volume, location, file name

       and date, and box number. Docket Entry Nos. 1, 1-3, Feb. 28, 2019 (Complaint and Exhibit

       A to Plaintiff’s Complaint, copy of Plaintiff’s original FOIA request).

2.     On August 4, 2021, Defendant issued its 11th interim response to the FOIA request, which

       Defendant advises is the final scheduled production in this matter.

3.     On Tuesday, September 7, 2021, Plaintiff provided Defendant with a list of

       exemptions/withholdings about which it would like more information.
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4.     Defendant will provide Plaintiff a Vaughn index with information regarding the above

       withholdings by October 22, 2021.

5.     The parties shall file their next Joint Status Report no later than November 1, 2021,

       updating the court on the status of discussions surrounding the five records.

Dated: October 1, 2021                       Respectfully submitted,


  For Plaintiff:                              For Defendant:

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